Case 2:18-cv-07347-R-JC Document 79 Filed 07/01/19 Page 1 of 2 Page ID #:2823



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12
                             UNITED STATES DISTRICT COURT
13
14                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                              Case No. 2:18-cv-07347-R-JC
16    CITY OF LOS ANGELES,
                                                ORDER ON JOINT MOTION
17                        Plaintiff,            FOR PARTIAL VACATUR
18
                     v.
19
20    WILLIAM P. BARR, Attorney
      General of the United States, et al.,
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22                        Defendants.
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24         On May 10, 2019, this Court granted the parties’ Joint Motion for an
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     Indicative Ruling. See ECF No. 74. Thereafter, the U.S. Court of Appeals for the
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27
     Ninth Circuit remanded this case for the limited purpose of enabling the District

28   Court to consider the parties’ joint motion for vacatur. See ECF No. 75. Pending
Case 2:18-cv-07347-R-JC Document 79 Filed 07/01/19 Page 2 of 2 Page ID #:2824



 1   now before the Court is the parties’ Joint Motion to Partially Vacate Judgment
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     Pursuant to Fed. R. Civ. P. 60(b) (the “Joint Motion”). It appearing to the Court
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 4   that the parties jointly seek this relief, and for the good cause shown in the

 5   accompanying Memorandum of Points and Authorities, it is hereby ordered that the
 6
     Joint Motion is GRANTED. It is further ordered that the order and injunction
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 8   entered in this case on February 15, 2019 (ECF No. 62), pursuant to Fed. R. Civ. P.
 9   60(b), and solely to the extent the order and injunction relate to the Gang Suppres-
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     sion Planning Grants Program for Fiscal Year 2018, is hereby VACATED,
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12   provided that nothing in this order affects the aspect of the Court’s injunction that
13   concerns the Byrne JAG Program.
14
15   IT IS SO ORDERED.
16   Dated: _July 1, 2019
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                                                         HON.
                                                         HON.. R.
                                                               R. GARY KLAUSNER
                                                                           KLAAUSNER
19                                                       U S D
                                                         U.S.   istrict Judge
                                                              District
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